‘Case 3:25-cr-30009-SPM Document1 Filed 01/22/25 Page lof2 Page ID#1

IN THE UNITED STATES aistritre de P R E S S E D

FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
vs. ) CRIMINAL NO. OS+3000%~SAm
)
ROBERT DESHON HAWKINS and ) Title 18 United States Codes,
DISNEY DEMERIA ALEXANDER ) Section 2243(a) and 2 | _ = D
)
Defendants. ) JAN 22 2025

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF ILLLINOIS
INDICTMENT E. ST, LOUIS OFFICE

THE GRAND JURY CHARGES:

COUNT 1
TRANSPORTATION OF MINORS

From on or between September |, 2023 through September 4, 2023, in Madison County,
within the Southern District of Illinois,

ROBERT DESHON HAWKINS and DISNEY DEMERIA ALEXANDER,
defendants herein, did knowingly transport an individual who had not attained the age of 18
years in interstate and foreign commerce, with intent that the individual engage in sexual activity
for which any person can be charged with a criminal offense, namely, promotion of prostitution,
which was a criminal offense under 720 ILCS 5/11-14.3(a)(1).

All in violation of Title 18, United States Codes, Section 2243(a) and 2.
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Karelia S. Rajagopal
Assistant United States Attorney

RACHELLE AUD CROWE
United States Attorney

Recommended Bond: Detention
